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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

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                                                    *
ESJ, ppa Lucky Girl (Lisa) Beh                      *
and Elliott Sackor, Sr., and Lucky Girl (Lisa) Beh, *
and Elliott Sackor, Sr., Individually               *
                                                    *
                        Plaintiffs                  *
                                                    *
vs.                                                 *
                                                    *         C.A. NO. 1:18-cv-956-SM
                                                    *
United States of America, Mary Cullen, D.O.,        *
and Elliot Hospital                                 *
                                                    *
                        Defendants                  *
                                                    *
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             JOINT MOTION TO FILE MINOR’S PETITION        FOR APPROVAL UNDER SEAL

       Plaintiff ESJ, ppa Lucky Girl (Lisa) Beh and Elliott Sackor, Sr., and Lucky Girl (Lisa)

Beh, and Elliott Sackor, Sr., Individually and Defendants Elliot Hospital have entered into a

confidential agreement to resolve this matter. They move jointly, to file Plaintiffs’ Petition for

Approval on Behalf of a Minor and to have the written Petition sealed with any record or notes

of any hearing on the proposed Petition; and to seal any findings by the Court beyond the Court’s

denial or approval of the Petition. Good cause exists to grant this motion, because the Petition to

approve concerns sensitive issues to the Plaintiffs and their family warranting the preservation of

their privacy and because confidentiality was a bargained-for condition of the resolution.

       Further, because the case against Co-Defendants, the United States of America and Mary

Cullen, D.O. will continue and those Co-Defendants are not parties to the resolution between
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Plaintiffs and Elliot Hospital, the terms and conditions of the resolution are not known to them,

and should not be known until such time as either a verdict is returned against them and/or a

separate resolution has been reached with them.

       In accordance with Local Rule 7.1(a)(2), the parties assert that given the straight-forward

nature of this request, no memorandum is necessary in order for the Court to rule on this matter.




RESPECTFULLY SUBMITTED,                                      RESPECTFULLY SUBMITTED
THE PLAINTIFFS BY THEIR ATTORNEY,                            DEFENDANT, ELLIOT HOSPITAL
                                                             BY THEIR ATTORNEY,

/S/ELIZABETH N. MULVEY, ESQUIRE
BBO# 1834
/S/ DAVID W. SUCHECKI, ESQUIRE                               /S/TODD HATHAWAY, ESQUIRE
DAVID W. SUCHECKI, ESQUIRE                                   TODD HATHAWAY, ESQUIRE
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